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Case 6:23-cr-00070-WWB-EJK Document 78 Filed 01/22/24. Page 1 of 1 PagelD 400 ns
US| Department of Justice PROC 3S RECEIPT AND RETURN: +3
United States Marshals Service See “Instructions for Service of Process by U.S. Marshal ¥s i

[Ba SE SIT
PLAINTIFF COURT CASE NUMBER aa S
United States of America 6:23-cr-70-WWB-EJK ze,
DEFENDANT TYPE OF PROCESS 1 fool
John Can Unsalan depoist a me

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
SERVE
AT ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW

Number of process to be

Jennifer M. Harrington, AUSA
400 West Washington St., Ste. 3100
Orlando, FL 32801

served with this Form 285

Number of parties to be
served in this case

Check for service
on U.S.A.

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,

All Telephone Numbers, and Estimated Times Available for Service):

Please deposit check #1072, from Losey PLLC, Trust Account, dated 1/9/24, payable to the USMS, in the amount of

$111,831,04 into SADF.
Cats No. 24-FBI-080424- 0 © / 7<~4/

A.

{ginator requesting service on behalf of:
5 * [x] PLAINTIFF

[.] DEFENDANT

TELEPHONE NUMBER

407-648-7500

DATE

1/11/2024

SPAGE BEVOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE

| acknowledge receipt for the total | Total Process | District of District to Signature of Authorized USMS Deputfor Clerk Date

number of process indicated. Origin Séive 4

(Sign only for USM 285 if more 4 _ f “t, /2 GS
than one USM 285 is submitted) f No. 7, & No. 4S ee a l [ lé 2 =f

I hereby certify and return that | [have personally served , [J have legal evidence of service, [1 have executed as shown in "Remarks", the process described on the
individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

(CD Thereby certify and return that | am unable to locate the individual, company, corporation, etc. named above (See remarks below)

Name and title of individual served (ifnot shown above)

Date

Yirf2o24

Time

[J am
L] pm

Address (complete only different than shown above)

Signature of U.S. Marshal or Deputy

Me de ars

Costs shown on hed USM,

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REMARKS

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+te SHADE ™ 12/2024,

Form USM-285
Rev. 03/21
